 

Case 1:12-CV-OO758-.]AP-ACT Document 24 Filed 01/23/13 Page 1 of 2

IN 'I`HE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a New Mexico
limited liability company,

Plaintiff,
vs. Case Numbel': 1:12-cv-00758-JAP-ACT

TESLA MOTORS, INC., a Delaware
corporation,

Defendant.

CERTIFICATE
Pursuant to D.N.M. LR~Civ. 26.2, the undersigned ccrtiiicd that on the 23rd day of
January,_ 2013, Plaint`iff Rio Real Estate Invcstmcnt Opportunjtics, LLC emailcd an electronic
version and mailed the original of the following docurncnts:
l. Rio Rcal Estatc Invcsuncnt Opportunities, LLC's Rcsponsc to Tcsla Motors, Inc.'S First
Sct of Request for Production to Plaintifl"',
2. Rio Real Estate lnvestlnent Opportunities, LLC's Rcsponsc to Tesla Motors, lnc.'S First
Set of Interrogatories to Plainti'ff;
to the following counsel of rccord:
Andrew Schultz
Rodey, Dickason, Sloan, Akin & Robb, PA

P.O. Box 1888
Albuqucrque, NM 87103-1888

 

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LASTRAPES, SPANGLER & PACHECO, P.A.

By: M’

Christdpher M. Pacheco

LeeAnn Werbelow

Attorneys for Plaintiff

P.O. Box 15698

Rio Rancho, NeW Mexico 871?4
Telephone: 505/892~3607
Facsimile: 505/892-1864

The undersigned hereby certifies that on January 23, 20]3, the foregoing Certificate of
Service WaS electronically filed With the -Clerk of Court using the CM/ECF System that Will Send
notification of Such filing to all counsel of record:

Andrew Schultz
Rodey, Dick'ason, Sloall, Akin & Robb, PA

P.O. Box 1888
Albuquerque, NM 87103-1888

LASTW & PACHECO, P.A.
By: j

Ch\"i{stopher M. Pacheco

